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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                  No. 4:11CR00156-12 JLH

PAUL RANDALL HUSSEY                                                                 DEFENDANT

                                             ORDER

       The motion to appoint counsel for Paul Randall Hussey is GRANTED. Document #802.

Federal Public Defender Kim Driggers is hereby appointed to represent Hussey. The motion to hold

the section 2255 petition in abeyance is GRANTED. Document #804. The petition is held in

abeyance pending a decision by the United States Court of Appeals for the Eighth Circuit as to

whether Hussey will be permitted to file a second or successive petition. The Court directs Hussey’s

attorney to notify this Court promptly after receiving a decision from the Eighth Circuit.

       IT IS SO ORDERED this 30th day of June, 2016.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
